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                      1   LATHAM & WATKINS LLP
                          Steven N. Feldman (Bar No. 281405)
                      2   steven.feldman@lw.com
                          355 South Grand Avenue
                      3   Los Angeles, California 90071
                          (213) 485-1234
                      4
                          LATHAM & WATKINS LLP
                      5   Shlomo Fellig (pro hac vice)
                          shlomo.fellig@lw.com
                      6   200 Clarendon Street
                          Boston, Massachusetts 02116
                      7   (617) 948-6000

                      8   Attorneys for Defendant Whaleco Inc.

                      9
                                                     UNITED STATES DISTRICT COURT
                  10                               NORTHERN DISTRICT OF CALIFORNIA
                                                        SAN FRANCISCO DIVISION
                  11

                  12      ELI SILVA, on behalf of himself
                                                        )          Case No. 3:24-cv-02890-SK
                          and all others similarly situated,
                                                        )
                  13                                    )          DECLARATION OF MICHAEL TRINH
                                            Plaintiff,  )          IN SUPPORT OF DEFENDANT
                  14                                    )          WHALECO INC.’S MOTION TO COMPEL
                                v.                      )          ARBITRATION
                  15                                    )
                          WHALECO, INC., d/b/a TEMU,    )
                  16                                    )
                                            Defendant.  )
                  17                                    )
                          ______________________________)
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LATHAM&WATKI NS'"                                                                   DECLARATION OF MICHAEL TRINH
   ATTORNEYS AT LAW
     LOS ANGELES
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                      1   I, Michael Trinh, declare as follows:

                      2          1.      I am a Customer Service Manager at Whaleco Inc. (doing business as “Temu”). I

                      3   make this Declaration in support of Defendant Whaleco’s Motion to Compel Arbitration; the facts

                      4   set forth herein are based on my personal knowledge and review of company records, and, if called

                      5   upon to do so, I can and will competently testify to these facts.

                      6          2.      Before making purchases on Temu’s website or mobile application in February

                      7   2024, users were required to accept Temu’s Terms of Use (the “Terms”).

                      8          3.      When a user registered for a Temu account, they were shown two registration

                      9   prompts (the “Registration Prompt(s)”). The first Registration Prompt included: (i) a field to

                  10      register for an account by entering an email or a phone number, along with a corresponding

                  11      “Continue” button to affirm assent; and (ii) alternative buttons allowing the user to “Continue” by

                  12      instead registering via their existing Google, Facebook, Apple, or X (Twitter) account.

                  13      Immediately below these registration options was a notice stating: “By continuing, you agree to

                  14      our Terms of Use[.]”

                  15             4.      As shown below, in Figure 1, the entire first Registration Prompt was displayed

                  16      clearly on one screen; consequently, a user did not need to scroll to see any part of it, including

                  17      the link to the Terms.

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                      1                                      First Registration Prompt (Fig. 1)

                      2

                      3

                      4
                                                                             Sign in to checkout
                      5                                                      CO All data will be encrypted

                      6

                      7                                           Free sh ipping
                                                                  Special fo r you
                                                                                                           Free returns
                                                                                                           With in 90 days


                      8                                  Email or ph one number



                      9                                                                                                 •
                  10                                                                    Continue


                  11                                                                 Trouble signing in?


                                                                             Or continue with other ways
                  12

                  13
                                                                              GO s
                                                            By continuing, you agree to our Terms of Use and Privacy Policy.
                  14

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                  18             5.      A user who clicked the hyperlink to the Terms would see the Terms in a new
                  19      browser window.
                  20             6.      After a user entered their email address and clicked the “Continue” button, a second
                  21      notice relating to their consent to Temu’s “Terms of Use” was displayed on the second Registration
                  22      Prompt. As shown below, in Figure 2, the text stated, “By clicking Register, you agree to our
                  23      Terms of Use[.]”
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                      1                                   Second Registration Prompt (Fig. 2)

                      2

                      3

                      4                                                                   Register
                                                                                 Gl A ll data wi ll be encrypted
                      5                                   Create your account
                                                          Registratio n is easy, just fi ll in the password.
                      6
                                                          Email
                      7

                      8
                                                            XXXXXX@email.com


                                                          Password
                                                                                                                       •
                      9                                     Minimum 8 characters required


                  10                                      Password qualit y: -
                                                          Don't use a password from another site, or something too obvious
                  11                                      li ke your pet's name.



                  12                                                                       Register


                  13                                       By cl icking Register, you agree to our Terms of Use and Privacy Policy.



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                  18              7.     A user then created a password for their Temu account and clicked the “Register”

                  19      button immediately below the Terms link.

                  20              8.     After a user assented to Temu’s Terms, the Terms continued to be available to them

                  21      as a hyperlink in the footer of Temu’s website and within the menu of Temu’s mobile application.

                  22              9.     A registered Temu user (regardless of the method of registration) was required to

                  23      assent to the Terms each time were they to input their credential to log back in to Temu’s website

                  24      or mobile application.

                  25              10.    Only after a user assented to Temu’s Terms were they able to buy products, follow

                  26      brands, leave product reviews, and receive notifications—among other methods of interacting with

                  27      Temu.

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                      1          11.     Temu’s records show that on February 21, 2024, Plaintiff entered his email address,

                      2   clicked the “Continue” button, and then created a password for his Temu account and clicked the

                      3   “Register” button immediately above the Terms link.

                      4          12.     Attached as Exhibit A is a true and correct copy of the Terms in effect when

                      5   Plaintiff registered for his Temu account on February 21, 2024, and made the purchase at issue on

                      6   February 21, 2024.

                      7          13.     To the best of my knowledge, Plaintiff did not provide Temu with written notice

                      8   within 30 days of his agreement to the Terms requesting to opt out of the Arbitration Agreement;

                      9   Temu did not receive any notice from Plaintiff of this lawsuit.

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     LOS ANGELES                                                            4                      CASE NO. 3:24-cv-02890-SK
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                       1      I declare under penalty of perjury that the foregoing is true and correct.

                       2
                       3      Executed on July 15, 2024.

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     L OS A NGELES                                                       5                      CASE NO. 3:24-cv-02890-SK
